Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 1 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 2 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 3 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 4 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 5 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 6 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 7 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 8 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 9 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 10 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 11 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 12 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 13 of 14
Case:18-01254-EAG13 Doc#:97 Filed:09/22/20 Entered:09/22/20 12:51:29   Desc: Main
                          Document Page 14 of 14
